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Attorneys for Defendant Concorde Career
Colleges, Inc.




                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


CYNTHIA PRECIADO,                                   Case No.

                                  Plaintiff,        DEFENDANT CONCORDE CAREER
                                                    COLLEGES, INC.’S NOTICE OF
          v.                                        REMOVAL

CONCORDE CAREER COLLEGES, INC., a                   Pursuant to 28 U.S.C. §§ 1332, 1441, and
Foreign Business Corporation; KEITH                 1446 (Diversity)
KNITTLE, an individual,
                                                    Multnomah County Circuit Court
                               Defendants.          Case No. 22CV34541


TO:      United States District Court for the District of Oregon; Clerk of the Multnomah County
         Circuit Court; and Gregory Kafoury, Mark McDougal, Jason Kafoury, and Kafoury &
         McDougal, attorneys for plaintiff:
         PLEASE TAKE NOTICE that defendant Concorde Career Colleges, Inc. (“defendant

Concorde”), hereby removes this case, currently pending in the Circuit Court for the County of

Multnomah, to the United States District Court for the District of Oregon, Portland Division. As

grounds for removal, defendant Concorde states the following:

         On or about October 7, 2022, Cynthia Preciado (“plaintiff”) filed a lawsuit in Multnomah

County Circuit Court, styled as Cynthia Preciado v. Concorde Career Colleges, Inc. and Keith

PAGE 1 – NOTICE OF REMOVAL                                                  LANE POWELL PC
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Knittle (the “State Court Action”). Pursuant to 28 U.S.C. § 1446(a), copies of “all process,

pleadings, and orders” delivered to defendant Concorde are attached as Exhibit 1.

         1.        In the State Court Action, plaintiff purports to allege a complaint for battery and

negligence against defendant Concorde and battery against defendant Keith Knittle. (See Compl.

¶¶ 8-13.)

                                    DIVERSITY JURISDICTION
         2.        The United States District Court for the District of Oregon has original jurisdiction

over this action pursuant to 28 U.S.C. § 1332(a) because complete diversity of citizenship exists

between the parties, and the matter in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs.

         3.        Citizenship of Parties. The named parties are of completely diverse citizenships.

                   a.     Plaintiff is a resident of Washington County, Oregon. Thus, plaintiff is a

citizen of Oregon for purposes of diversity jurisdiction.

                   b.     Concorde Career Colleges, Inc. (hereafter “defendant Concorde”) is a

Delaware for-profit vocational college, with its principal place of business in Mission, Kansas.

(See Declaration of Carter M. Mann In Support of Concorde’s Notice of Removal (“Mann Decl.”)

¶ 2.) Thus, defendant Concorde is a citizen of Delaware and Kansas for purposes of diversity

jurisdiction. See 28 U.S.C. § 1332(c)(1) (“[A] corporation shall be deemed to be a citizen of every

State and foreign state by which it has been incorporated and of the State or foreign state where it

has its principal place of business[.]”).

                   c.     Defendant Keith Knittle is a resident of Ridgefield, Washington. Thus,

Mr. Knittle is a citizen of Washington for purposes of diversity jurisdiction. (See Mann Decl. ¶ 3.)

Mr. Knittle has not been served with the Summons and Complaint in this action. Nevertheless,

Mr. Knittle consents to removal of this action to the United States District Court for the District of

Oregon. (See Mann Decl. ¶ 4.)

         4.        Amount in Controversy. Plaintiff’s Complaint seeks relief in excess of the amount

in the controversy requirements of 28 U.S.C. §1332(a). (See Compl. ¶ 11; (Prayer for Relief
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seeking an amount not to exceed $750,000.00, and for costs and disbursements.)) Accordingly,

the matter in controversy that is the subject of this litigation exceeds the jurisdictional threshold.

         5.        Because plaintiff and both defendants are citizens of different states and the amount

in controversy exceeds $75,000, exclusive of interest and costs, this Court has original jurisdiction

to hear the dispute under 28 U.S.C. § 1332.

                                 PROCEDURAL REQUIREMENTS
         6.        Removal to Proper Court. The action is removable to this Court because this district

embraces Multnomah County, Oregon, where the State Court Action is now pending.

         7.        Removal Is Timely. Concorde was served with the Summons and Complaint on

October 17, 2022. (Exhibit 1 at 6.) Therefore, pursuant to 28 U.S.C. § 1446(b), this Notice of

Removal is timely. See Murphy Bros. Inc. v. Michetti Pope Stringing Inc., 526 U.S. 344, 347-48

(1999) (“[W]e hold that a named defendant’s time to remove is triggered by simultaneous service

of the summons and complaint, or receipt of the complaint, ‘through service or otherwise,’ after

and apart from service of the summons, but not by mere receipt of the complaint unattended by

any formal service.”) Removal is proper based upon diversity jurisdiction, and therefore the

requirements of 28 U.S.C. § 1441(b) are met in that the entire case may be removed to this Court.

         8.        Pleadings and Process. Attached hereto as Exhibit 1 is a copy of all process,

pleadings, and orders received by defendant Concorde concerning the State Court Action. See

28 U.S.C. § 1446(a).

         9.        Notice. A copy of the Notice of Filing of Removal to Federal Court and Notice to

Adverse Party of Removal will be timely filed with the clerk of the state court in which the action

is pending and served on plaintiff pursuant to 28 U.S.C. § 1446(a), (d) (attached hereto as

Exhibit 2, excluding exhibits).

         10.       Signature. This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11.

See 28 U.S.C. § 1446(a).

         11.       Based upon the foregoing, this Court has jurisdiction over this matter pursuant to

28 U.S.C. § 1332, and the claims may be removed to this Court under 28 U.S.C. §§ 1441 and 1446.
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         12.       In the event that plaintiff seeks to remand this case, or the Court considers remand

sua sponte, defendant Concorde respectfully requests the opportunity to submit such additional

argument or evidence in support of removal as may be necessary.

         13.       Defendant Concorde has good and sufficient defenses to this action and does not

waive any defenses, jurisdictional or otherwise, by the filing of this Notice.

                   WHEREFORE, defendant Concorde Career Colleges, Inc. removes this action

from the Circuit Court for the State of Oregon, for the County of Multnomah, to the United States

District Court for the District of Oregon, Portland Division.


         DATED: November 8, 2022

                                               LANE POWELL PC



                                               By:   s/ Carter M. Mann
                                                    Carter M. Mann, OSB No. 960899
                                                    Kristen L. Price, OSB No. 175700
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                                               Attorneys for Defendant Concorde Colleges, Inc.




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                                 CERTIFICATE OF SERVICE
         I, Carter M. Mann, hereby certify that on this 8th day of November, 2022, I caused a copy

of the foregoing DEFENDANT CONCORDE CAREER COLLEGES, INC.’S NOTICE OF

REMOVAL to be served via U.S. Mail and electronic mail, on the following:

Mark McDougal                                     Keith Knittle (via U.S. Mail only)
Gregory Kafoury                                   5002 NW 199th Street
Jason Kafoury                                     Ridgefield, WA 98642
KAFOURY & MCDOUGAL
411 SW Second Avenue, Suite 200                   Defendant
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Attorneys for Plaintiff




                                                  s/ Carter M. Mann
                                                 Carter M. Mann




PAGE 1 – CERTIFICATE OF SERVICE                                              LANE POWELL PC
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